         1          JAMES L. DAY (WSBA #20474)                     HONORABLE FREDERICK P. CORBIT
                    CHRISTINE M. TOBIN-PRESSER
         2          (WSBA #27628)
                    JASON WAX (WSBA #41944)
         3          BUSH KORNFELD LLP
                    601 UNION STREET, SUITE 5000
         4          SEATTLE, WA 98101
                    Tel (206) 292-2110
         5          Emails: jday@bskd.com,
                    ctobin@bskd.com, jwax@bskd.com
         6

         7
                                        UNITED STATES BANKRUPTCY COURT
         8                              EASTERN DISTRICT OF WASHINGTON
         9         In re                                            Chapter 11
       10          1 MIN, LLC; HOTEL AT SOUTHPORT,                  Lead Case No. 24-01519
                   LLC; and TWELFTH FLOOR, LLC,
       11
                                             Debtors.
       12

       13          LAN CAI, et al.,                                 Adv. Proc. No. 25-80007
       14                                    Plaintiffs,
                           v.                                       NOTICE OF DEPOSITION
       15
                   HOTEL AT SOUTHPORT, LLC, et al.,
       16
                                             Defendants,
       17
                   and
       18
                   WF CREL 2020 GRANTOR TRUST,
       19
                                    Intervenor-Defendant.
       20

       21          TO:           DAHE ZHANG
                   AND TO:       Matthew Livingston, Matthew Sava, and Jeremy Roller, their Attorneys
       22

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                                                                                    B USH K ORNFELD L LP
                    NOTICE OF DEPOSITION – Page 1                                           LAW OFFICES
                                                                                       601 Union St., Suite 5000
                                                                                    Seattle, Washington 98101-2373
                                                                                       Telephone (206) 292-2110
                                                                                       Facsimile (206) 292-2104
2836 id07f101tp
                  25-80007-FPC    Doc 31-3   Filed 04/22/25   Entered 04/22/25 11:31:23      Pg 1 of 2
         1               YOU AND EACH OF YOU WILL PLEASE TAKE NOTICE that the testimony
         2         of DAHE ZHANG will be taken upon Oral Examination at the instance and request of
         3         Defendants 1 Min, LLC; Hotel at Southport, LLC; Twelfth Floor, LLC; and Intervenor-
         4         Defendant WF CREL 2020 Grantor Trust, on May 12, 2025, commencing in the above-
         5         entitled action.
         6               The deposition will be conducted at the following date, time and location:
         7         Deponent: DAHE ZHANG
                   Location: Seattle, Washington (exact location TBD)
         8         Date:      May 12, 2025
                   Time:      9:00 a.m. Pacific Time until excused (or at another time on May 12,
         9                   2025 agreed to by Defendants, Intervenor-Defendants, and counsel for
                             the Deponent)
       10
                         This deposition will be taken by stenographic and audiovisual means before an
       11
                   official authorized to administer oaths. The deposition is subject to continuance or
       12
                   adjournment from time to time until completed, and the scope of the deposition will
       13
                   include but not be limited to all matters related to the deponent’s claims against the
       14
                   Defendants and Intervenor-Defendant in the above-entitled proceedings.
       15
                         DATED this 8th day of April, 2025.
       16
                                                                BUSH KORNFELD LLP
       17

       18                                                       By /s/ Jason Wax
                                                                  James L. Day, WSBA #20474
       19                                                         Christine M. Tobin-Presser #27628
                                                                  Jason Wax, WSBA #41944
       20                                                       Attorneys for the Reorganized Debtors
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                                                                                     B USH K ORNFELD L LP
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